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             EXHIBIT C1
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Joanna Caytas

From:                   adel abbasi <adel.abbasi.bitcoin@gmail.com>
Sent:                   Monday, November 20, 2023 2:24 PM
To:                     kenos@ycst.com; Patty Tomasco; Alain Jaquet; rbrady@ycst.com; Susheel Kirpalani; Daniel Holzman;
                        Razmig Izakelian; Joanna Caytas
Cc:                     Richard.Schepacarter@usdoj.gov
Subject:                Case No. 23-10597 - Electronic Delivery of Adel Abbasi's Initial Document Production Requests.
Attachments:            Doc1.pdf

Follow Up Flag:         Follow up
Flag Status:            Flagged


                                        [EXTERNAL EMAIL from adel.abbasi.bitcoin@gmail.com]



Counsel:




Attached, please find Mr. Adel Abbasi's first set of document production requests.




Best regards,



Adel Abbasi




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             EXHIBIT C2
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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

   In re:                                                                  Chapter 11

   Desolation Holdings LLC, et al.,'                                       Case No. 23-10597 (BLS)
                  Debtors.                                                 (Jointly Administered)

                                                                           Ref. D.I. 558


                            FORMAL REQUEST BY ADEL ABBASI TO THE DEBTORS
                                 FOR THE PRODUCTION OF DOCUMENTS

This is a formal request by Adel Abbasi ("Mr. Abbasi") for the production of all documents from
the debtors, as per Rules 26 and 34 of the Federal Rules of Civil Procedure. These rules are
applicable in the aforementioned case by virtue of Rules 7026 and 7034 of the Federal Rules of
Bankruptcy Procedure.

Mr. Abbasi hereby stipulates the following requests for the production of documents (hereafter
referred to as "Document Requests•). It is requested that the debtors provide comprehensive
and accurate answers to these Document Requests.

The deadline for the submission of the requested documents is set for November 22, 2023. The
documents should be delivered to the undersigned individual. Please note that failure to
comply with this request may result in legal consequences.



                                                                  INSTRUCTIONS

     1.     Your response to each request should be based upon your entire knowledge from all
            sources and all information in your possession or otherwise available to you, including
            information in the possession of officers, employees, agents, representatives,
            consultants, or attorneys. You should review every document or source of information,
            including those not within your immediate or direct control, in responding to each
            request herein.
     2.     If you cannot respond in full to any of the following requests, respond to the extent
            possible, stating all information or knowledge you have concerning the portion to

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor entity's tax identification number, are: Desolation Holdings
LLC (0439); Bittrex, Inc. (0908); Bittrex Malta Holdings Ltd. (2227); and Bittrex Malta Ltd. ( 1764).
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   which you are responding and specifying the reason for your inability to respond to the
   remainder. If your responses are qualified in any respect, set forth the terms and
   explanations of each such qualification.
3. If you object to any of the requests on any grounds, state said grounds completely. If
   the request is only partly objectionable, respond to the remainder of the request as set
   forth above.
4. Each request should be answered separately. Documents should be identified with
   reference to the particular request for which the documents are being provided.

                                         DEFINITIONS

A. "PERSON(S)" includes any natural person, firm, association, organization, partnership,
   business, trust, corporation, governmental or public entity or any other form of legal
   entity.
B. "DOCUMENT" or "DOCUMENTS" shall mean all documents, electronically stored
   information, and tangible things, including without limitation all writings and all other
   means of recording information, whether written, transcribed, taped, filmed,
   microfilmed, or in any other way produced, reproduced, or recorded, and including but
   not limited to: originals, drafts, computer-sorted and computer-retrievable
   information, copies and duplicates that are marked with any notation or annotation or
   otherwise differ in any way from the original, correspondence, memoranda, reports,
   notes, minutes, contracts, agreements, books, records, checks, vouchers, invoices,
   purchase orders, ledgers, diaries, logs, calendars, computer printouts, computer disks,
   card files, lists of persons attending meetings or conferences, sketches, diagrams,
   calculations, evaluations, analyses, directions, work papers, press clippings, sworn or
   unsworn statements, requisitions, manuals or guidelines, audit work papers, financial
   analyses, tables of organizations, charts, graphs, indices, advertisements and
   promotional materials, audited and unaudited financial statements, trade letters, trade
   publications, newspapers and newsletters, photographs, emails, electronic or
   mechanical records, facsimiles, telegrams and lelecopies, and audiotapes. Each draft,
   annotated, or otherwise non-identical copy is a separate DOCUMENT within the
   meaning of this term. DOCUMENTS shall also include any removable sticky notes, flags,
   or other attachments affixed to any of the foregoing, as well as the files, folder tabs, and
   labels appended to or containing any documents. DOCUMENTS expressly include all
   ELECTRONIC RECORDS.
C. "COMMUNICATION(S)" means any oral, written or electronic transmission of
   information, including but not limited to meetings, discussions, conversations,
   telephone calls, telegrams, memoranda, letters, telecopies, telexes, conferences,
   messages, email, support tickets, notes or seminars.
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D. "RELATING TO," "RELATED TO" or "RELATE(S) TO" means constituting, containing,
   concerning, embodying, reflecting, identifying, stating, mentioning, discussing,
   describing, evidencing, or in any other way being relevant to that given subject matter.
E. The terms "you" or "your" include the person to whom these requests are addressed,
   and all of that person's agents, representatives, or attorneys.
F. The words "any" and "all" shall be read in the conjunctive and not in the disjunctive
   wherever they appear, and neither of these words shall be interpreted to limit the
   scope of a request. Furthermore, the use of a verb in any tense shall be construed as the
   use of the verb in all other tenses and the singular form shall be deemed to include the
   plural, and vice-versa. The singular form of any noun shall be deemed to include the
   plural, and vice-versa.
G. The words "or" and "and" shall be read in the conjunctive and not in the disjunctive
   wherever they appear, and neither of these words shall be interpreted to limit the
   scope of a request. The use of a verb in any tense shall be construed as the use of the
   verb in all other tenses and the singular form shall be deemed to include the plural, and
   vice-versa. The singular form of any noun shall be deemed to include the plural, and
   vice-versa.
H. "You" or "your" refers to the party to whom these REQUESTS FOR PRODUCTION are
   addressed, including your employees, agents, officers, directors, representatives, your
   attorneys, unless privileged, and any corporation or other entity over which you
   exercise some control or access to information or documents.



                           REQUESTS FOR PRODUCTION

1. Personal Information: Any data related to my identity, including but not limited to,
   name, address, email id, phone number, passport etc.
2. Sensitive Data: Any sensitive personal information about me that you may have
   collected.
3. Set-vice Use Data: This includes Identity, Contact, Financial, Anti-Money Laundering
   (AML) and Know Your Customer (KYC) Data, Marketing, and Communication Data;
   Enhanced KYC Data, Pmtfolio Data, and Transaction Data.
4. Technical/ Log Data: Any log files, event data, or other technical data related to my use
   of your services.
5. Device Data: Information about the device I used to access your services, including
   hardware model, operating system version, unique device identifiers, and mobile
   network information.
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6. Usage Data: Data related to my interactions with your platform, such as frequency of
    use, features accessed, time spent, etc.
7. Aggregated Data: Any data that has been compiled or aggregated from my individual
    data.
8. Third-Party Technical Data: Any data that has been collected from third parties about
    my use of your services.
9. Browser/Access Log Information: This includes the type of browser used, access times,
    pages viewed, IP address, and the page visited before navigating to your services.
10. Exchange Information: Details of the transactions executed on the Bittrex website,
    including the amount of virtual currency associated with an exchange transaction, the
    types of exchanges executed, and other transaction information.
11. Support Inquiries and Correspondences: Records of any inquiries or correspondences
    I had with your support team.
12. Marketing Preferences and Activities: Information about my marketing preferences
    and my activities on the platform.
13. Reporting to OFAC: Provide all documents, emails, and other forms of communication
    that demonstrate Bittrex's reporting of Mr. Abbasi's account and assets to the Office of
    Foreign Assets Control (OFAC). This includes any correspondence between Bittrex and
    OFAC, internal memos or reports related to the case, as well as any supporting
    evidence that demonstrates the reporting process.
14. OFAC License Application: Supply all documentation, communications, and evidence
    pertaining to Bittrex's application for an OFAC license on behalf of and or for Mr.
    Abbasi This should include the original application, any attached files, any subsequent
    correspondence with OFAC, and any internal documents related to the application
    process.
15. Issued OFAC Licenses: Submit copies of all OFAC licenses issued to Bittrex,Inc and
    Bittrex Malta. Detail the specific terms of each license, including any limitations or
    requirements imposed by OFAC.
16. Legal Grounds for Account Blocking: Disclose the legal grounds or regulations that led
    Bittrex to block Mr. Abbasi's account and assets. This should include the specific laws or
    regulations invoked, any legal advice received regarding the blocking, and any internal
    discussions or decisions made in relation to this action.
17. Communication and Proceedings with OFAC: Share all documents, communications,
    and evidence related to Bittrex's dealings with OFAC since the blocking of Mr. Abbasi's
    account and assets. This should include any requests or orders from OFAC to apply for
    a license, any communications about the blocking, and any proceedings or actions
    taken by Bittrex in response to OFAC's actions.
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   18. Account Restriction Details: The name and position of the person within Bittrex who
       ordered the blocking or imposition of limitations or restrictions on Mr. Abbasi's
       account. This should include any internal communication regarding this decision.
   19. LomoCoin (LMC) Transactions: Comprehensive transaction data pertaining to
       LomoCoin (LMC) on the Bittrex platform from March 20, 2020, onwards. This should
       include all buy/sell orders, transfers, and other transactions involving LomoCoin
       executed by Bittrex or recorded in its accounting system.
   20. LomoCoin: All c01Tespondence, contracts, or any material exchanged between Bittrex
       and the LomoCoin team or LomoCoin company concerning the listing, marketing,
       activities, and promotion of LomoCoin on the Bittrex platform. Any transactions or
       records demonstrating the fees paid to Bittrex for the listing of LomoCoin. Any
       contracts or agreements that explicitly state that LomoCoin was not issued by Bittrex
       or its affiliates.
   21. Intentional Service Provision to Iranians: Any documentation, public evidence, or
       communication that indicates Bittrex intentionally provided services to Iranian
       individuals.
   22. Refusal to Serve Iranians: Any documentation, public evidence, or communication that
       shows Bittrex's refusal to open accounts for Iranian individuals or entities.
   23. Provide all documents or evidence, whether directly or indirectly referenced, in your
       responses to Mr. Abbasi's letters. This should also include any objections you have filed
       regarding his claims.
   24. Provide all documents or evidence of the all-time high price of my holdings/assets from
       the time my account was blocked until 2020, in both USD and BTC. Also, include their
       respective charts for reference.

      YOU ARE REQUESTED TO PRODUCE AND PROVIDE ALL OF THE REQUESTED
      DOCUMENTS, WITHOUT EXCEPTION.




Kind Regards,
ADEL ABBASI
November 20, 2023
